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                                          UNITED STATES DISTRICT COURT

                                                        DISTRICT OF OREGON

                                                         PORTLAND DIVISION



BANETTE PROPERTIES, LLC, an Oregon                                                             No. 3:15-cv-01344-PK
limited liability company,

                                               Plaintiff,                       STIPULATED MOTION FOR
                                                                                DISMISSAL
                   v.

AMCO INSURANCE COMPANY, a foreign
company,

                                               Defendant.




                                                                                                          DAVIS ROTHWELL
Page 1 -    STIPULATED MOTION FOR DISMISSAL                                                           EARLE & XOCHIHUA
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                   COME NOW counsel for plaintiff Banette Properties, LLC, and defendant

AMCO Insurance Company and, having advised the Court that the underlying case has settled,

hereby moves the Court for an order dismissing this case, with prejudice and without costs to

either party, pursuant to Federal Rule of Civil Procedure 41-1(c).

                   DATED this sixth day of July 2016.

                                                             BALL JANIK LLP


                                                             By           s/ Kyle A. Sturm*
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* = Denotes signed by authorization pursuant to LR 11-1(d)(2).




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Page 2 -    STIPULATED MOTION FOR DISMISSAL                                                                    EARLE & XOCHIHUA
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